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          EXHIBIT B
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

                                            §
  ULTRAVISION TECHNOLOGIES, LLC,            §
                                            §    Case No. 2:19-cv-00291-JRG-RSP
                         Plaintiff,         §    (LEAD CASE)
                                            §
           v.                               §    JURY TRIAL DEMANDED
                                            §
  HOLOPHANE EUROPE LIMITED,
                                            §
  ACUITY BRANDS LIGHTING DE
                                            §
  MEXICO DE RL DE CV, HOLOPHANE
                                            §
  S.A. DE CV and ARIZONA (TIANJIN)
                                            §
  ELECTRONICS PRODUCT TRADE CO.,
                                            §
  LTD.

                         Defendants.



        ULTRAVISION TECHNOLOGIES, LLC’S PROPOSED
                  VERDICT FORM FOR THE
 ULTRAVISION TECHNOLOGIES, LLC v. ACUITY BRANDS LIGHTING DE
                 MEXICO DE RL DE CV TRIAL

       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions I have given you in the Court’s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

 Jury Instructions. You should refer to and consider the Final Jury Instructions as

 you answer the questions in this Verdict Form.
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        As used herein, the following terms have the following meanings:

     “Ultravision” or “Plaintiff” means Ultravision Technologies, LLC.

       “Defendants” or “Acuity Mexico” means Acuity Brands Lighting De

        Mexico S. de R.L. de C.V.

     The “’410 Patent” refers to U.S. Patent No. 8,870,410.

     The “’413 Patent” refers to U.S. Patent No. 8,870,413.

     The “’946 Patent” refers to U.S. Patent No. 10,223,946.

     The “Asserted Claims” collectively refers to 10, 11, and 14 of the ‘410

        patent, claim 1 of the ‘413 patent, and claims 1-6, 8-10, 12-14, and 16-17 of

        the ‘946 patent.
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       IT IS VERY IMPORTANT THAT YOU FOLLOW THE
      INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




      READ THEM CAREFULLY AND ENSURE THAT YOUR
             VERDICT COMPLIES WITH THEM
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 QUESTION NO. 1:



 Did Ultravision prove by a preponderance of evidence that Acuity Mexico

 infringed ANY of the Asserted Claims?



 YES _________


 NO _________




 If you answer this question “NO” do not answer any other questions, leave the

 remaining questions unanswered and go to the final page of the Jury Verdict form.
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 QUESTION NO. 2:



 Did Acuity Mexico prove by clear and convincing evidence that any of the

 following Asserted Claims are invalid?

 Answer “Yes” or “No” for each Asserted Claim listed below:



             Claim 10 of the ’410 Patent    ______________

             Claim 11 of the ’410 Patent    ______________

             Claim 14 of the ’410 Patent    ______________

             Claim 1 of the ’413 Patent     ______________

             Claim 1 of the ’946 Patent     ______________

             Claim 2 of the ’946 Patent     ______________

             Claim 3 of the ’946 Patent     ______________

             Claim 4 of the ’946 Patent     ______________

             Claim 5 of the ’946 Patent     ______________

             Claim 6 of the ’946 Patent     ______________

             Claim 8 of the ’946 Patent     ______________

             Claim 9 of the ’946 Patent     ______________

             Claim 10 of the ’946 Patent    ______________

             Claim 12 of the ’946 Patent    ______________
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             Claim 13 of the ’946 Patent   ______________

             Claim 14 of the ’946 Patent   ______________

             Claim 16 of the ’946 Patent   ______________

             Claim 17 of the ’946 Patent   ______________
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 If you answered NO to Question No. 1 OR YES to ALL the Asserted Claims
 listed in Question No. 2, then DO NOT answer Question No. 3.

 Answer Question No. 3 ONLY as to anv Asserted Claim that you have found
 BOTH to be infringed and not invalid.



 QUESTION NO. 3:


 Did Ultravision prove by a preponderance of the evidence that Acuity Mexico

 willfully infringed ANY of the Asserted Claims that you fond were infringed?


 YES _________


 NO _________
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 If you answered NO to Question No. 1 OR YES to ALL the Asserted Claims
 listed in Question No. 2, then DO NOT answer Question No. 4.

 Answer Question No. 4 ONLY as to anv Asserted Claim that you have found
 BOTH to be infringed and not invalid.



 QUESTION NO. 4:


 What sum of money, if paid now in cash, has Ultravision proven by a
 preponderance of the evidence would compensate Ultravision for its damages from
 infringement through the date of trial?



 Answer in United States Dollars and Cents, if any:


       $__________________________________________
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                   FINAL PAGE OF JURY VERDICT FORM

 You have now reached the end of the Verdict Form and should review it to ensure

 it accurately reflects your unanimous determinations. The Jury Foreperson should

 then sign and date the Verdict Form in the spaces below. Once this is done, notify

 the Court Security Officer that you have reached a verdict. The Jury Foreperson

 should keep the Verdict Form and bring it when the jury is brought back into the

 courtroom.



 Signed this ____ day of March, 2021.

                                              _________________________
                                              JURY FOREPERSON
